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/\""°ORN'“=YS '=0“= Plaintiff, Colony Insurance Company

 

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UNITED .STATES DISTRICT COURT
CENTRAL DISTRICT GF CALIFOR_NIA

 

COLONY iNSURANCE COMPANY
Plain%z`i"f(s),
1'.

R}ENAISSANCE MAL§BU. L,LC, et ai

Defenciazn(s)

 

CASE N¥JMDER:

CERTIFICAT`[ON ANI) NOTICE
OF INTERESTED PARTIES
(I_,oeni Rule 7.1-`1)

 

TC):

"l`he medersigned, counsel of teeoi'ci for Plai!“i["f

'FHE COURT AND ALL PART§ES APPEARING OF RECORD:

(01‘ party appearing in pro pe:'), cez"£ifies that the following listed party (01' perties) may have a clircet, pecuniary
inte1'est in the outcome of this oese. Tliese representationsare nmcle to enable the Cou:t to eveiua€e possible

disqualification 01 cecc.l.zsa

PARTY

(Use additional sheet if necessaty )

CONNECTION

{List the names efa§l such parties anc§ identify their connection and interest.)

i. Coloey is, and Was at '111 times relevant beieirz a corporation
l`olmecl 11111§1:1 fee laws of 1be Stete cf V_i1ginia, with its principal
121 ace ol business m Viiginia. Co§ ony is autlzorized to do business
in Califotnia as 11 non- admitted carrier.

2. Reneissance Malibe, I_.LC, is and Was 111 all times relevant
herein a business entity ol" unknown fotm, and is net 11 registered
LLC within any je:'isc§icrion le the United Stetes. -

3. G:‘assi1op1)erHouse, LLC, is, end was 111 eli times 1'e]evant
herein, a Califor:lia limited liability company doieg business as
“Pnssages Melibu”.

¢S. Passeges Silver Strend, LLC, is and was at 1111 times relevant
herein a Califoi'eie limited §iebility company

lone 24, 2010

 

Piaietiff

Se§endant

Defendant

Defendan€

 

 

Date Signv

PIZ`.TER S. GREGOROVIC

 

Attorney of record ferer party appearing 111 pro per

 

CV~§§O (G4/i{))

NO*£`ICE OF INTERESTED I’ARTIES

